
677 So.2d 436 (1996)
STATE ex rel. Noel VAUGHN
v.
STATE of Louisiana.
No. 96-KH-1670.
Supreme Court of Louisiana.
August 1, 1996.
Writ granted; case transferred to the 19th Judicial District Court. Relator has raised a criminal post-conviction habeas corpus claim, see La.C.Cr.P. art. 362(2); State v. Lewis, 519 So.2d 152 (La.App. 1st Cir.1987); State ex rel. Bartie v. State, 501 So.2d 260 (La.App. 1st Cir.1986), venue for which lies in the 19th Judicial District. Bartie, 501 So.2d at 265.
BLEICH, J., not on panel.
